                                     IN THE UNITED STATES DISTRICT COURT
                                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                             STATESVILLE DIVISION
                                         CASE NO. 5:15-CR-00015-RLV-DCK-3
                UNITED STATES,                                 )
                                                               )
                                                               )
                    v.                                         )
                                                               )         ORDER
                                                               )
                DAVID LYNN BROWNING,                           )
                                                               )
                                                               )
                                                               )

                         On January 12, 2017, Defendant David Lynn Browning appeared before this Court for

               sentencing. At his sentencing hearing, Defendant expressed dissatisfaction with his counsel’s

               availability and communication subsequent to his December 18, 2015, plea hearing before

               Magistrate Judge David S. Cayer. Rather than proceeding with sentencing, the Court opted to take

               Defendant’s concerns under advisement. Cognizant of an issue raised when Defendant testified at

               the trial of a co-defendant suggestive of a possible lack communication between Defendant and

               his counsel and noting that counsel did not file a sentencing memorandum on Defendant’s behalf,

               the Court orders an Inquiry into Status of Counsel Hearing. See United States v. Smith, 640 F.3d

               580, 588 (4th Cir. 2011) (discussing factors governing substitution of appointed counsel and the

               degree of breakdown in communication required to warrant substitution).         The hearing is

               scheduled for January 19, 2017, at 10:00 AM before Magistrate Judge David C. Keesler in

               Courtroom 1-3.
Signed: January 13, 2017




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                   Case 5:15-cr-00015-KDB-DCK           Document 117       Filed 01/13/17     Page 1 of 1
